Case 2:03-cV-02649-STA-tmp Document 38 Filed 05/09/05 Page 1 of 8 Page|D 89

IN THE. UNITED sTATE.s l)lsTRlCT (:01);11""""LJ % "*“}
FOR THE WESTERN DISTRICT OF TENNESSEE ,,,r,~ _ 0 s w ‘
WESTERN DIVISION “'3 l*"‘l *’ "*” ll‘ 5“"
Ct_;e"zr\', ')t:SIl'HC:T.

MEMPHls-sHELBY COUNTY W‘ D l'j:" 5`*"'5"`"‘"`~'""5
AIRPORT AUTHORITY,
ILLINOIS vALLEY PAVING
COMPANY, and JACO AIRFIELD

CONSTRUCTION, INC.,
Plaintiffs,
v. Civil Action No. 03-2649-B-P /
CONSOLII)ATED
UNITED STATES FIRE INSURANCE
COMPANY,

l)efendant.

 

ONEBEACON AMERICAN INSURANCE
COMPANY f/k/a COMMERCIAL UNION
lNSURANCE COMPANY and AMERICAN
CENTRAL INSURANCE COMPANY,

Plaintiffs,
v. Civil Action No. 04-2432-B-l’

JACO AIRFIELD CONSTRUCTION, INC.,

f/k/a .]ACO ELECTRIC, INC., a Gec)rgia
Corporation, and MEMPHIS-SHELBY COUNTY
AIRPORT AUTHORITY, and ILLINOIS
\»'ALLEY PAVING COMPANY, an Illinois
Corporation,

Defendants.

 

AMENI)ED RULE 16(b) SCH_EDULING ORDE-R

 

Pursuant to the scheduling conference 011 l\/larch l 7, 2005, the following dates are
established as the final dates for:

Tms document entered nn the docket §th in compliance
Wim ama 53 and/or 79(3) Faca en :E’C€' §§

Case 2:03-cV-02649-STA-tmp Document 38 Filed 05/09/05 Page 2 of 8 Page|D 90

AMENI)ING PLEADINGS: Juiie 15, 2005
COMPLETING ALL DISCOVERY.' January l(), 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES, and
REQUESTS FOR ADMISSION:

To be served such that all answers and responses are due on or before
September l, 2005

(b) EXPERT i)isCLosURE (Ruie 26(3)(2)):

(i) Plaintiffs’ Experts: September 15, 2005

(ii) Defendants’ Experts: October 15, 2005

(iii.) Supplementation under Rule 26(e): October 30, 2005
(c) DEPOSITI()N OF` EXPERTS: lanuary 16, 2006
FIL}NG DISPOSIT]VE MOTIONS: February 15, 2006

FINAL LI.STS OF WITNESSES AND EXHIB]TS (Rule 26(3)(3)):

(a) F or Plaintiffs: 45 days before trial
(b) F or Defendants: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last four days. The matter is set for a jury trial on
l\/l_ay 15, 2006. A joint pretrial order, proposed jury instructions, and motions in limine are due
by 4:30 p.m. on May 2, 2006. ln the event the parties are unable to agree on ajoint pretrial
order, the parties must notify the court at least ten days before trial. The pretrial conference is set
for May 9, 2006 at 9:00 a.m.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production, and Requests for Admission must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery

Motions io compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection that is the subject of
the motion if the default occurs within 30 days of the discovery deadline, unless the time for

Case 2:03-cV-02649-STA-tmp Document 38 Filed 05/09/05 Page 3 of 8 Page|D 91

filing of such motion is extended for good cause shown7 or any objection to the default, response
or answer shall be waived.

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The parties are reminded that, pursuant to Local Rule 7(a)(l)(A) and (B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60 shall be accompanied by a proposed Order
and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Nei` ther party
may lile an additional reply, however, without leave of court. lf a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judgc. The Magistrate ludge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises that precludes the matter from
proceeding to trial.

T/ie parties are Ordered to engage iii Coiu'f-omi.exed attorney mediation or private
mediation before the close ofa'i`scoverii.

This Order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended.

fn NmLmHPN
'UNiEDSTATEsDBTRKHJUDGE

lT lS SO ORDERED.

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DATE l '

Case 2:03-cV-02649-STA-tmp Document 38 Filed 05/09/05 Page 4 018 Page|D 92

APPRO VED:

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DisTRiCT oURT -

Esfn

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:03-CV-02649 was distributed by fax, mail, or direct printing on
May 18, 2005 to the parties listed.

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Case 2:03-cV-02649-STA-tmp Document 38 Filed 05/09/05 Page 7 018

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Page|D 95

Case 2:03-cV-02649-STA-tmp Document 38 Filed 05/09/05 Page 8 018 Page|D 96

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Honorable .l. Breen
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